Case 23-34815 Document 846-5 Filed in TXSB on 12/04/24 Page 1 of 5




                       EXHIBIT 4
          Case
           Case23-34815
                24-03120 Document
                          Document846-5
                                   25 Filed
                                        FiledininTXSB
                                                  TXSBonon08/13/24
                                                           12/04/24 Page
                                                                     Page1 2ofof4 5
                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                       August 14, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                             §
                                   §                        CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,          §
                                   §                        CHAPTER 11
      Debtor.                      §
                                   §
ALI CHOUDHRI,                      §
                                   §
      Plaintiff,                   §
                                   §
VS.                                §                        ADVERSARY NO. 24-3120
                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P., §
NEW YORK BRANCH,                   §
                                   §
      Defendant.                   §

                                         ORDER DISMISSING CASE

           This matter is before the Court on the Motion to Dismiss Third Amended Complaint (ECF
No. 10) filed by the defendant National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”).
NBK is moving to dismiss all counts of the complaint for insufficient process and pursuant to
Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim for relief. A response was
filed in opposition by the plaintiff, Ali Choudhri (ECF No. 24). For the following reasons, the
motion to dismiss is granted.
                               FACTUAL AND PROCEDURAL BACKGROUND
           This adversary proceeding was removed to this court on June 7, 2024 by the NBK. Prior
to the removal, the plaintiff Ali Choudhri (“Choudhri”) filed an original petition in the 129th
Judicial District Court of Harris County Texas under Case No. 2024-27168 on April 26, 2024. An
amended petition was filed on May 3, 2024. A request for issuance of service was noted on the
docket on May 15, 2024. The Second Amended Petition was then filed on May 15, 2024.1 It is
undisputed that at no time prior to the removal to this court was NBK served with a copy of the
suit. After removal, Choudhri filed a Third Amended Complaint.2 To date, no summons has been

1
    See docket sheet from state court case at ECF No. 1-1
2
    ECF No. 8.
1/4
        Case
         Case23-34815
              24-03120 Document
                        Document846-5
                                 25 Filed
                                      FiledininTXSB
                                                TXSBonon08/13/24
                                                         12/04/24 Page
                                                                   Page2 3ofof4 5




requested or issued in the case. Under Federal Rule of Civil Procedural 4(m), "[if] a defendant is
not served within 90 days after the complaint is filed, the court—on motion or on its own after
notice to the plaintiff—must dismiss the action without prejudice against that defendant or order
that service be made within a specified time." The 90-day-deadline passed on July 25, 2024. As
such, the case will be dismissed without prejudice.
        Further, the case will be dismissed for substantive reasons. Choudhri’s Third Amended
Complaint contains allegations regarding the parties’ rights and obligations under a Confidential
Settlement Agreement entered into in August of 2022. This agreement was the subject of a
previous state court lawsuit and was also heavily litigated in the underlying bankruptcy case. It
was determined by both courts that NBK was not in breach of the agreement. Ultimately, this
Court confirmed a Chapter 11 plan that provided NBK with an allowed claim for the tax liens in
the amount of $1,696,384,85 if it was not the successful bidder for the Property; provided,
however, NBK will waive the tax lien claim if it is the successful bidder.3
                                              JURISDICTION
        This court has jurisdiction of the parties to and the subject matter of this adversary
proceeding pursuant to 28 U.S.C. 1334 and 28 US.C. 157. This is a core proceeding as defined in
28 U.S.C. 157 (b)(2).
                                        STANDARD OF REVIEW
        NBK is also seeking dismissal for failure to state a claim pursuant to Federal Rule of Civil
Procedure 12(b)(6). This rule has been incorporated into Federal Rule of Bankruptcy Procedure
7012. In evaluating whether a complaint fails to state a claim, the Court must construe the
complaint liberally in favor of the plaintiff as the non-moving party and assume the truth of well-
pleaded facts.4 The Court must assess a motion to dismiss only on “the facts stated in the complaint
and the documents either attached to or incorporated in the complaint.”5 In order to survive a
motion to dismiss, “a plaintiff must plead sufficient ‘facts to state a claim to relief that is plausible
on its face.’”6 The Court is not required to accept as true “conclusory allegations, unwarranted
factual inferences, or legal conclusions.”7

3
  Case No. 23-34815, ECF No. 566, Order Confirming Chapter 11 Plan, Art. III.B(d) at page 12 of the Plan.
4
  Stokes v. Gann, 498 F.3d 483, 484 (5th Cir. 2007).
5
  Lovelace v. Software Spectrum, Inc., 78 F.3d 1015, 1017 (5th Cir. 1996).
6
  Ferguson v. Bank of New York Mellon Corp., 802 F.3d 777 (5th Cir. 2015), citing Bell Atl. Corp. v. Twombly, 550
U.S. 544 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).
7
  Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007)
2/4
        Case
         Case23-34815
              24-03120 Document
                        Document846-5
                                 25 Filed
                                      FiledininTXSB
                                                TXSBonon08/13/24
                                                         12/04/24 Page
                                                                   Page3 4ofof4 5




                                                  ANALYSIS
         The Third Amended Complaint continues to claim that NBK breached the Confidential
Settlement Agreement (the ‘CSA”) between the parties. That issue has already been ruled on by
this Court, in the underlying bankruptcy case, which agreed with a previous state court ruling.
There was a breach of the CSA when required funds were not tendered as agreed.8 Choudhri
argues that the previous ruling by the state court is immaterial as it was not contained in a final
judgment prior to the filing of the underlying bankruptcy case. However, that ruling was admitted
into evidence and this Court agreed with the ruling.9 Accordingly, this Court finds that NBK did
not breach the CSA, so any claims relating to the breach of the CSA fail to state a claim for relief
and are dismissed with prejudice.
         For the same reason, Choudhri’s conversion and unjust enrichment claims that he is the
owner of the tax liens fail. The CSA required Choudhri to transfer and assign to NBK the tax
liens, which he did by notarized document and the assignment was recorded in the real property
records. The CSA also provided an option to purchase the Loan Document by the Payment Date,
called the Purchase Option Payment. This provision would have required NBK to transfer and
assign the Tax Liens to Choudhri if NBK received either a “Settlement Payment” or a “Purchase
Option Payment.”10 The Purchase Option Payment consisted of the down payment plus the
remaining balance of the Settlement Payment. NBK retained the tax liens because the full amount
of the Settlement Payment or the Purchase Option Payment was not paid by the Payment Date (as
effectively extended by the state court), and the last $80,000 payment was not made even after the
state court extended the period to perform under the CSA. Still, among other claims asserted in the
Complaint, Choudhri claims that NBK should have returned the tax liens to him. If the CSA was
not breached by NBK, there can be no valid claim of ownership of the tax liens by Choudhri.
         To recover under unjust enrichment under Texas law, plaintiffs must show that a defendant
“obtained a benefit from another by fraud, duress, or the taking of undue advantage.”11 Choudhri’s
allegations are that the tax liens are wrongfully held by NBK and should be restored to Choudhri
due to equity and good conscience. He does not allege fraud, duress or the taking of undue

8
  Case No. 23-34815, ECF No. 535, page 3, stating that the amount of $801,509.42 was not paid within 210 days of
the Effective Date as set forth in the CSA referring to ECF No. 498-1, page 18 “[t]here’s no dispute that the payment
wasn’t made in full by March 20,”
9
  Id.
10
   Third Amended Complaint, ECF No. 8, page 8 and Motion to Dismiss, ECF No. 10, pages 3-4.
11
   Heldenfels Bros. v. City of Corpus Christi, 832 S.W.2d 39, 42 (Tex. 1992).
3/4
        Case
         Case23-34815
              24-03120 Document
                        Document846-5
                                 25 Filed
                                      FiledininTXSB
                                                TXSBonon08/13/24
                                                         12/04/24 Page
                                                                   Page4 5ofof4 5




advantage. Furthermore, the Chapter 11 Plan, which contained provisions regarding the tax liens,
has been confirmed and is now binding on the parties.12 Accordingly, any claims by Choudhri of
ownership of the tax claims are not valid and should be dismissed with prejudice.
                                            MOTION TO AMEND
         Choudhri has requested leave to amend in the event the Court dismisses the Third Amended
Complaint. The court has considered whether leave to amend should be granted, as Federal Rule
of Bankruptcy Procedure 7015 provides that a court should freely give leave to amend pleadings
when justice so requires.13 Here, the court finds that Choudhri has no valid claims, which is
sufficient grounds to deny leave to amend.
         THEREFORE, IT IS ORDERED that Case No. 24-03120 is dismissed with prejudice.
          SIGNED 08/13/2024


                                                               ___________________________________
                                                               Jeffrey Norman
                                                               United States Bankruptcy Judge




12
   Matter of Howard, 913 F.2d 1138, 1143 (5th Cir.) (“a plan is binding upon all parties once it is confirmed and all
questions that could have been raised pertaining to such plan are res judicata.”
13
   In re Meyrowitz, Adv. No. 10-03227, 2010 WL 5292066 (Bankr. N.D. Tex. Dec. 20, 2010).
4/4
